Filed 05/14/19                                                         Case 19-23086                                                                        Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                      Chapter      12
                                                                                                                                Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/19
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
 For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                JAG Partnership LP

  2.   All other names debtor
       used in the last 8 years
       Include any assumed
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    2230 Gladding Road                                              PO Box 275
                                    Lincoln, CA 95648                                               Lincoln, CA 95648
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    Placer                                                          Location of principal assets, if different from principal
                                    County                                                          place of business
                                                                                                    2230 Gladding Road (735 Acres) Lincoln, CA
                                                                                                    95648
                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)


  6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                        Partnership (excluding LLP)
                                        Other. Specify:




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  Debtor    JAG Partnership LP                                                                           Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            None of the above

                                         B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                   1121

  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
                                            Chapter 7
       debtor filing?
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                                   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                            Chapter 12



  9.   Were prior bankruptcy                No.
       cases filed by or against
       the debtor within the last 8         Yes.
       years?
       If more than 2 cases, attach a
       separate list.                               District                                When                                  Case number
                                                    District                                When                                  Case number


  10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.
      affiliate of the debtor?
       List all cases. If more than 1,
       attach a separate list                       Debtor                                                                    Relationship
                                                    District                                When                              Case number, if known




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  Debtor   JAG Partnership LP                                                                        Case number (if known)
           Name



  11. Why is the case filed in    Check all that apply:
      this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                           preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or          No
      have possession of any
      real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property that needs
      immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?

                                                  It needs to be physically secured or protected from the weather.

                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                 livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  Other
                                                                                2230 Gladding Road (735 Acres)
                                               Where is the property?           Lincoln, CA, 95648-0000
                                                                                Number, Street, City, State & ZIP Code
                                               Is the property insured?
                                                  No

                                                  Yes.    Insurance agency      Grange Insurance Assoc
                                                          Contact name          Vitas Insurance agency
                                                          Phone                 (530) 823-3733


           Statistical and administrative information

  13. Debtor's estimation of      .         Check one:
      available funds
                                               Funds will be available for distribution to unsecured creditors.
                                               After any administrative expenses are paid, no funds will be available to unsecured creditors.

  14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
      creditors                                                                        5001-10,000                                 50,001-100,000
                                      50-99
                                      100-199                                          10,001-25,000                               More than100,000
                                      200-999

  15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                      $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


  16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                      $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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            Name



            Request for Relief, Declaration, and Signatures

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

  17. Declaration and signature
      of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on      May 14, 2019
                                                    MM / DD / YYYY


                               X   /s/ George B. Aguiar                                                     George B. Aguiar
                                   Signature of authorized representative of debtor                         Printed name

                                   Title   Authorized Represenatative




  18. Signature of attorney    X   /s/ J. Russell Cunningham                                                 Date May 14, 2019
                                   Signature of attorney for debtor                                               MM / DD / YYYY

                                   J. Russell Cunningham 130578
                                   Printed name

                                   Desmond, Nolan, Livaich & Cunningham
                                   Firm name

                                   1830 15th Street
                                   Sacramento, CA 95811
                                   Number, Street, City, State & ZIP Code


                                   Contact phone     (916) 443-2051                Email address      rcunningham@dnlc.net

                                   130578 CA
                                   Bar number and State




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                                ACAT, LLC
                                PO Box 275
                                Lincoln, CA 95648


                                Aguiar Family Trust
                                PO Box 275
                                Lincoln, CA 95648


                                Bank of the West
                                500 Capitol Mall, Ste. 1200
                                Sacramento, CA 95814


                                George Aguiar
                                PO Box 275
                                Lincoln, CA 95648


                                Janeil Aguiar
                                3174 Southcreek Drive
                                Lincoln, CA 95648
